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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

In re:                                                  Chapter 11

Legacy IMBDS, Inc. et al.,1                             Case No. 23-10852 (KBO)

                              Debtors.                  (Jointly Administered)


Synacor, Inc.,
                                                        Adv. Proc. No. 23-50753 (KBO)
                              Plaintiff,

         v.

IV Media, LLC; Innovation Ventures, LLC; Portal
Acquisition Co.; iMedia Brands, Inc.; ValueVision
Interactive, Inc.; VVI Fulfillment Center, Inc.;
ValueVision Retail Inc.; JWH Acquisition
Company; PW Acquisition Company, LLC; EP
Properties, LLC; FL Acquisition Company; Norwell
Television, LLC; 867 Grand Avenue, LLC; and
Unidentified Parties, 1-25,

                              Defendants.



              ORDER APPROVING STIPULATION BY AND BETWEEN
           PLAINTIFF AND DEFENDANTS EXTENDING THE DEADLINE
         FOR THE RULE 26(f) CONFERENCE AND PRE-TRIAL CONFERENCE

         This Court having considered the Stipulation by and between Plaintiff and Defendants

Extending the Deadline for the Rule 26(f) Conference and Pre-Trial Conference (the



         1
              The Debtors in these chapter 11 cases, along with the last four digits of each
Debtor’s federal tax identification number are: ValueVision Media Acquisitions, Inc. (8670);
Legacy IMBDS, Inc. (3770); ValueVision Interactive, Inc. (8730); Portal Acquisition Company
(3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail Inc. (2155); JWH Acquisition
Company (3109); PW Acquisition Company, LLC (0154); EP Properties, LLC (3951); FL
Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC
(2642). The Debtors’ service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.
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“Stipulation”),2 attached as Exhibit 1, among the above-captioned Plaintiff and Defendants

(collectively, the “Stipulation Parties”); this Court having determined that good and adequate

cause exists for approval of this Stipulation; and upon submission of this Order under

certification filed by counsel for the Plaintiff;

        IT IS HEREBY ORDERED THAT:

        1.      The Stipulation is hereby approved.

        2.      The Pre-Trial Conference (“Pre-Trial Conference”) originally scheduled for

December 21, 2023 at 2:00 p.m. (EST) as set forth in the Summons and Notice of Pretrial

Conference in the Adversary Proceeding dated November 7, 2023 is adjourned to January 23,

2024 at 9:00 a.m. (EST). All obligations attendant to the Rule 26(f) Conference pursuant to the

Delaware Bankruptcy Court Local Rules, including Rules 7016-1 and 7026-3, are likewise

extended.

        3.      The Pre-Trial Conference may be further extended upon written consent of the

Stipulation Parties, which written consent may be provided by email from counsels to the

Stipulation Parties, provided that the Plaintiff shall file a notice of any extension of the Pre-Trial

Conference on the docket of this adversary proceeding.




   Dated: December 15th, 2023                                  KAREN B. OWENS
   Wilmington, Delaware                                        UNITED STATES BANKRUPTCY JUDGE




        2     Capitalized terms used in this Order but not otherwise defined in this Order shall
have the meanings given to them in the Stipulation.

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